John Doubek
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DOUBEK, PYFER & STORRAR, PC
PO Box 236
Helena MT 59624
Telephone: (406) 442-7830
Facsimile: (406) 442-7839
john@lawyerinmontana.com

Attorneys for Plaintiff


      MONTANA FIRST JUDICIAL DISTRICT COURT, LEWIS & CLARK COUNTY


 NATHAN SHOWALTER,                                               Cause No.   iJ~V ao1°)         6 ct-
                          Plaintiff,
                                                                         (,\} - \9, 21 .. H,58-t
        V.                                             COMPLAINT AND DEMAND FOR
                                                              JURY TRIAL
 LOWE' S HOME CENTERS, LLC, a North
 Carolina Corporation and , a foreign
 corporation d/b/a LOWE' S COMPANIES,
 INC., TOM SMITH, and DOES and
 ROES 1-5,

                          Defendant.



       Plaintiff for his complaint alleges the following:

                                                   I

               All acts and omissions occurred within Lewis & Clark County, State of Montana.

                                              II

       Lowe's Home Centers, LLC and its d/b/a's (hereinafter referred to as Lowe's)

Companies, Inc., owns and operates a business establishment commonly called Lowes which has

a hardware and home improvement store in Helena, Montana.

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                                                 III

       Plaintiff was hired by Lowe's as a department manager when the store opened in

November, 2006. Plaintiff quickly moved up with Lowe's the company in different departments

and then became the assistant manager of Zone 1. After a few years he was promoted to

administrative assistant manager. Throughout the time of his work for Lowes he worked and

filled in for other manager as well as doing his own job. At all times he received good ratings on

his evaluations and received the yearly raise. Plaintiff was the administrative assistant manager

when he was terminated from his employment in July, 2018. He performed his owrkl well and

was well regarded by all employees. Defendant Lowe's and Loe's Corporation are related

companies and operate a Lowe's Home Center business in Helena Montana. Tom Smith was its

manager at the Helena Montana store.

                                                 IV

       Defendants did terminate Plaintiff from his employment with Lowe's effective

07/25/2108. Such termination was wrongful. Plaintiff is entitled to all damages for his wrongful

discharge. Indeed, Defendants offered Plaintiff money and other benefits under a document

called a release and separation agreement provided he not work for a related business in the

Helena area for a significant period of time. Plaintiff was entitled to this severance money and

other monies under the Wrongful Discharge from Employment Act and claims all of those

monies herein.

                                                 V.

       Plaintiff reserves the righut to amend this Complaint if discovery shows there are

additional causes of action.

       WHEREFORE Plaintiffprays for such damages as are proved just and proper and such

other and further relief as the Court deems lawful and proper at trial.
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                                 DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial of all his issues herein.

DATED this _ _OI
              __day of _January, 2019.


                                                    DOUBEK, PYFER & STORRAR PC



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